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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:19-cr-20688-PCH-1

  UNITED STATES OF AMERICA,

  v.

  BRUCE LAMAR KING,

        Defendant.
  _____________________________________/

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         THIS CAUSE came before the Court following the District Court’s Order of Reference

  for a Change of Plea Hearing. ECF No. [12]. The Change of Plea hearing was conducted on

  October 22, 2021. The undersigned makes the following findings and recommends that the guilty

  plea be accepted.

         1.      As an initial matter, the Court advised Bruce Lamar King (“Defendant”) of his right

  to appear at the plea hearing in person. Defendant waived his right to appear in person. Defendant,

  Defendant’s attorney, and the Assistant United States Attorney all consented to proceed by

  videoconference. Counsel concurred that holding the change of plea now, rather than delaying it

  until all could appear before the Court in person, was important because they had reached a

  resolution to this prosecution and they did not want to further delay the matter. Pursuant to the

  Administrative Orders of this Court, specifically, including, 2020-76, 2020-53, 2020-41, 2020-33,

  2020-24, 2020-21, 2020-18, 2020-23, 2021-12, 2021-33, and 2021-50, the Court found that

  Defendant’s guilty plea could not be further delayed without serious harm to the interests of justice,

  and the hearing was conducted by videoconference.




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          2.     This Court advised Defendant of his right to have these proceedings conducted by

  the District Judge assigned to the case, and that this Court was conducting the change of plea

  hearing pursuant to an Order of Reference from the District Court. This Court further advised

  Defendant that the District Judge assigned to this case would be the sentencing judge and would

  make all findings and rulings concerning Defendant’s sentence. This Court advised Defendant

  that he did not have to permit the undersigned United States Magistrate Judge to conduct this

  hearing and could request that the change of plea hearing be conducted by the District Judge

  assigned to the case. Defendant, Defendant’s attorney, and the Assistant United States Attorney

  all consented on the record to this Court conducting the change of plea hearing.

          3.     This Court conducted a plea colloquy in accordance with the outline set forth in the

  Bench Book for District Judges, and in accordance with Fed. R. Crim. P. 11.

          4.     Defendant pled guilty to the sole charge in the Indictment. The Indictment charges

  Defendant as a felon in possession of a firearm in violation of Title 18, United States Code, Section

  922(g)(1). The Court advised Defendant that there is a maximum of ten years imprisonment,

  followed by a period of supervised release of up to three years, and a possible fine of up to

  $250,000.00. The Court also advised Defendant of the possibility of forfeiture. Finally, the Court

  advised Defendant that there is a mandatory special assessment of $100.00.                Defendant

  acknowledged that he understood the possible maximum penalties that could be imposed in the

  case.

          5.     To set forth the factual basis for the entry of the plea, Defendant and the

  Government submitted a written Factual Proffer.          The Factual Proffer, also read by the

  Government at the hearing, established all the essential elements of the crime to which Defendant

  is pleading guilty. Defendant acknowledged that the Factual Proffer was accurate.



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          6.      There is no written plea agreement.

          7.      Based upon the foregoing and the plea colloquy conducted by this Court, the

  undersigned finds that Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charge and the consequences of the plea, and that the plea

  of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

  each of the essential elements of the offense.

          8.      Therefore, the undersigned recommends that Defendant be found to have freely and

  voluntarily entered his guilty plea to the Indictment filed in this case, as more particularly described

  herein, and that Defendant be adjudicated guilty of that offense.

          9.      A pre-sentence investigation report is being prepared for the District Court by the

  United States Probation Office.

          Accordingly, it is hereby RECOMMENDED that Defendant’s plea of guilty be accepted,

  that Defendant be adjudicated guilty of the offense to which he has entered his plea of guilty, and

  that a sentencing hearing be conducted for final disposition of this matter.

          The parties must file a statement of non-objection or file its written objections to the Report

  and Recommendation by close of business on Tuesday, October 26, 2021. Counsel did not object

  to this deadline. Pursuant to Fed. R. Crim. P. 59(b), Eleventh Circuit Rule 3-1, and accompanying

  Internal Operating Procedure 3, the parties are hereby notified that failure to object in accordance

  with 28 U.S.C. § 636(b)(1) waives the right to challenge on appeal the District Court’s order based

  on unobjected-to factual and legal conclusions. See Thomas v. Arn, 474 U.S. 140 (1985).

          DONE AND SUBMITTED in Chambers at Miami, Florida, on October 22, 2021.

                                                          _________________________
                                                          JACQUELINE BECERRA
                                                          United States Magistrate Judge




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